Case 3:22-cv-30059-MGM Document 30-2 Filed 09/12/23 Page 1 of 9




                   Exhibit B
         Case 3:22-cv-30059-MGM Document 30-2 Filed 09/12/23 Page 2 of 9


                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                               Civil Action No. 3:22-cv-30059
 LAUREN ROLLINS,
          Plaintiff,
                                                        PLAINTIFF’S ANSWERS TO
        v.                                             DEFENDANT’S FIRST SET OF
                                                           INTERROGATORIES
 R STREET INSTITUTE,
            Defendant.



       Plaintiff, Lauren Rollins (“Rollins” or “Plaintiff”) by and through her attorney, pursuant

to Federal Rules of Civil Procedure (“FRCP”) Rule 33, hereby responds and objects to

Defendant, R Street Institute’s (“R Street” or “Defendant”) First Set of Interrogatories (“the

Interrogatories”) as follows:

                                  GENERAL OBJECTIONS

       A.     Rollins objects to the Interrogatories to the extent they seek or purport to

impose upon her obligations other than those imposed by the FRCP and the applicable

Rules of this Court. Rollins’s objections to the Interrogatories are prescribed by, and she

hereby responds in accordance with, the Rules of this Court.

       B.     Rollins objects to the Interrogatories to the extent that they seek attorney

work product, trial preparation materials, documents prepared after the commencement of

this litigation, or communications protected by the attorney-client privilege or any other

applicable privilege. In the event that any protected or privileged documents are produced

by Rollins, such production is inadvertent and does not constitute a waiver of any privilege.

       C.     Rollins objects to the Interrogatories to the extent that they call for documents

not within her possession, custody, or control.

       D.     Rollins objects to the Interrogatories to the extent that the information therein

is equally accessible to the Defendants.

                                               1
            Case 3:22-cv-30059-MGM Document 30-2 Filed 09/12/23 Page 3 of 9


       E.       Rollins objects to the Interrogatories to the extent that they are not

proportional to the needs of the case.

       F.       Rollins objects to the Interrogatories to the extent they seek information that

is not relevant to the subject matter of this litigation.

       G.       Rollins further objects to the Interrogatories to the extent that they are not

limited in time.

       H.       Rollins objects to each interrogatory to the extent that it is ambiguous, vague

or otherwise incomprehensible.

       I.       Rollins objects to the Interrogatories to the extent that they do not identify the

documents to be produced with reasonable particularity. Rollins has responded to each

interrogatory based upon a reasonable, common-sense reading of the interrogatory.

Rollins reserves the right to amend or supplement these answers in the event that R Street

later asserts a different interpretation which is accepted by Rollins.

       J.       Rollins objects to the Interrogatories to the extent that they are overbroad,

redundant, overlapping, repetitive or harassing.

       K.       Rollins provides these objections and answers without conceding that any of

the documents sought is either relevant to or admissible in any trial of this action.

       L.       By stating in these answers that Rollins will produce documents responsive

to specific interrogatories, Rollins does not represent that any particular documents

actually exist, but only that she will make a good faith search in an attempt to ascertain

whether responsive documents do, in fact, exist in her possession, custody, and control.

       M.       Rollins reserves any and all rights to withhold any documents from

production or to redact portions of any documents to be produced based upon any

objections made herein.



                                                 2
         Case 3:22-cv-30059-MGM Document 30-2 Filed 09/12/23 Page 4 of 9


       N.     Rollins hereby declares that her answers to the Interrogatories are based on

present knowledge, information and belief, and are subject to amendment and

supplementation as Rollins acquires additional information and completes a review and

analysis.

       O.     Consistent with the Rules, Rollins reserves the right to provide information or

documents that may come to her attention and become available in the future and to use

such information or documents at any hearing or proceeding related to this action.

       P.     Each and every answer to an interrogatory is made subject to the foregoing

General Objections, regardless of whether a General Objection or specific objection is

stated in the answer. The explicit reference to a General Objection or the making of a

specific objection in response to a particular interrogatory is not intended to constitute a

waiver of the General Objections that are not specifically referred to in that answer.


                                    INTERROGATORIES




                                                REDACTED




                                               3
         Case 3:22-cv-30059-MGM Document 30-2 Filed 09/12/23 Page 5 of 9




INTERROGATORY NO. 12:

       Identify each and every physician, psychiatrist, psychologist, social worker or other

health care provider or facility that Plaintiff has visited, consulted or received treatment

from relative to any physical or emotional condition Plaintiff alleges R Street caused. For

each physician or other health care provider identified, state his or her address,

occupation, area of specialization, if any; any medical institutions with which the person is

presently associated or affiliated; any medical institutions with which the person was

associated or affiliated while treating Plaintiff; the date Plaintiff first consulted that person

or entity; the condition for which treatment was sought; the diagnosis that was rendered;

the nature of the treatment rendered; the cost of treatment and whether Plaintiff is

presently receiving treatment or consultation from such person or entity.

       ANSWER #12            To help with the stress of losing my job and searching for an

appropriate replacement therefor, I obtained a medical marijuana card through Dr. An

Chen at Veriheal.

       Supplemental Response 4/21/23:

       Other than obtaining this card, I have not sought any treatment for the physical or

emotional harm caused by Defendant.



INTERROGATORY NO. 13:

       Identify each and every physician, psychiatrist, psychologist, social worker or other

health care provider or facility that Plaintiff has visited, consulted or received treatment

from in the past five (5) years. For each physician or other health care provider identified,

state his or her address, occupation, area of specialization, if any; any medical institutions

with which the person is presently associated or affiliated; any medical institutions with

                                                19
         Case 3:22-cv-30059-MGM Document 30-2 Filed 09/12/23 Page 6 of 9


which the person was associated or affiliated while treating Plaintiff; the date Plaintiff first

consulted that person or entity; the condition for which treatment was sought; the diagnosis

that was rendered; the nature of the treatment rendered; and whether Plaintiff is presently

receiving treatment or consultation from such person or entity.

       ANSWER #13

       Objections: This Interrogatory seeks information that is not proportional to the

needs of the case. This Interrogatory seeks information that is not relevant to the subject

matter of this litigation. This interrogatory is harassing, argumentative, overbroad, and

unduly burdensome, and not reasonably calculated to lead to the discovery of admissible

evidence. Notwithstanding the objections and subject to them, see Answer #12.




                            REDACTED




                                                20
        Case 3:22-cv-30059-MGM Document 30-2 Filed 09/12/23 Page 7 of 9


As to objections:

Dated: July 17, 2023

The Plaintiff,
LAUREN ROLLINS,
By her attorney,

/s/ Deborah L. McKenna
Deborah L. McKenna (pro hac vice)
Raymond Dinsmore (BBO # 667340)
Hayber, McKenna & Dinsmore, LLC
One Monarch Place, Suite 1340
Springfield, MA 01144
Tel: 413-785-1400; Fax: (860) 218-9555
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Email: rdinsmore@hayberlawfirm.com




                                         24
        Case 3:22-cv-30059-MGM Document 30-2 Filed 09/12/23 Page 8 of 9


                               CERTIFICATE OF SERVICE

      I, Deborah L. McKenna, hereby certify that a copy of the foregoing document was

served via email and/or U.S. Mail, postage prepaid, as follows:

                           Benjamin R. Davis
                           Austin D. Jones
                           Jackson Lewis P.C.
                           75 Park Plaza, 4thFloor
                           Boston, MA 02116
                           Email:       Benjamin.Davis@jacksonlewis.com
                                        Austin.Jones@jacksonlewis.com


Dated: July 17, 2023                                 /s/ Deborah L. McKenna
                                                      Deborah L. McKenna




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                      Case 3:22-cv-30059-MGM    Document 30-2 Filed 09/12/23 Page 9 of 9



                  Signed under the pains and penalties of perjury this ____
                                                                          day of July, 2023.



                                                             LAUREN ROLLINS




                                                        26
